                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.18 Page 1 of 22




                                             1 Kamran Shahabi (State Bar No. 276194)                             ELECTRONICALL V FILED
                                               ks@valiantlaw.com                                                  SblJe!erior Cowt of California,
                                             2 Paul Nolan (State Bar No. 192267)                                       Coblnty of San □ ieQ o
                                               pjn@valiantlaw.com                                                  0813112023 at 03 :27 :07 PM
                                             3 VALIANT LAW                                                         Clerk of the SblJe!erior Coblrt
                                               800 Ferrari Lane, Suite 100                                        By SaJe!hia Feli:r , DeJe!blty Clerk
                                             4 Ontario, California 91764
                                               Phone: 909 677 2270 ♦ Fax: 909 677 2290
                                             5

                                             6 Attorneys for PLAINTIFF, LINDSEY MACK

                                             7

                                             8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                             9                                   COUNTY OF SAN DIEGO

                                            10
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 LINDSEY MACK, an individual                       Case No    37-2023-00037783- CU- 0 E- CTL
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12               PLAINTIFF,                          PLAINTIFF’S COMPLAINT FOR:

                                            13        v.
            VALIANT LAW




                                                                                                     1. Sex Discrimination in Violation of
                                            14 WESTERN GOVERNORS’ UNIVERSITY, a                         Government Code § 12940;
                                               Nonprofit Corporation, and DOES 1 through
                                            15 20, inclusive,                                        2. Retaliation in Violation of Government
                                                                                                        Code § 12940;
                                            16               Defendants.                             3. Whistleblower Retaliation in Violation
                                                                                                        of Labor Code § 1102.5;
                                            17                                                       4. Failure to Prevent Discrimination,
                                                                                                        Harassment, and Retaliation in
                                            18                                                          Violation of FEHA
                                            19                                                       5. Wrongful Termination in Violation of
                                                                                                        Public Policy;
                                            20                                                       6. Failure to Indemnify Necessary
                                                                                                        Expenditures in Violation of Labor
                                            21                                                          Code § 2802; and
                                                                                                     7. Waiting Time Penalties Pursuant to
                                            22
                                                                                                        Labor Code §§ 201 and 203.
                                            23

                                            24                                                            DEMAND FOR JURY TRIAL

                                            25

                                            26        COMES NOW PLAINTIFF, LINDSEY MACK, an individual, and alleges as follows:
                                            27                                 JURISDICTION AND VENUE
                                            28        1.     This is an unlimited civil case and the Court has jurisdiction over this action because

                                                                                               -1-
                                                                                          COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.19 Page 2 of 22




                                             1 the amount of controversy exceeds $25,000, exclusive of interest and costs.

                                             2          2.     Jurisdiction and Venue are proper in this Court under California Labor Code § 925,

                                             3 as PLAINTIFF is a California resident, PLAINTIFF’s claims arose in California as a California

                                             4 employee, and thus “the matter shall be adjudicated in California and California law shall govern.”

                                             5                                               PARTIES

                                             6          3.     PLAINTIFF LINDSEY MACK (hereinafter, “PLAINTIFF”), at all times relevant

                                             7 hereto, was and is a resident of the State of California.

                                             8          4.     PLAINTIFF is informed and believes, and thereon alleges, that Defendant

                                             9 WESTERN GOVERNORS’ UNIVERSITY (hereinafter, “WGU”), is a Utah Nonprofit Corporation

                                            10 which does business throughout the United States and, more specifically, with PLAINTIFF’s
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 residence and place of business in the State of California.
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12          5.     PLAINTIFF is informed and believes, and thereon alleges, that DOES 1 through 20,

                                            13 inclusive (hereinafter referred to as "DOES"), are or were individuals and/or are or were doing
            VALIANT LAW




                                            14 business at all times herein mentioned and material hereto in the State of California, and are/were

                                            15 the alter ego, agent, managing agent, principal, owner, partner, joint venture, representative,

                                            16 manager, and/or co-conspirator of each of the other defendants, and were at all times mentioned

                                            17 herein acting within the course and scope of said agency and employment, and that all acts or

                                            18 omissions alleged herein were duly committed with the ratification, knowledge, permission,

                                            19 encouragement, authorization and consent of each defendant designated herein.

                                            20          6.     The true names and capacities, whether individual, corporate or associate, or

                                            21 otherwise, designated herein as DOES, are unknown to PLAINTIFF at this time, who, therefore,

                                            22 sue said DOES by such fictitious names and will ask leave of Court to amend this Complaint to

                                            23 show their true names and capacities when ascertained.

                                            24          7.     PLAINTIFF is informed and believes and based thereon, alleges that at all times

                                            25 material hereto, WGU and DOES 1 through 20 (hereinafter collectively referred to as

                                            26 “DEFENDANTS”) and each of them, were duly authorized agents, or servants, or representatives,
                                            27 or co-conspirators of the other, or the alter ego, or the principal, or the owner, or representatives,

                                            28 and were acting at all times within the course and scope of their agency or representative capacity

                                                                                                 -2-
                                                                                            COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.20 Page 3 of 22




                                             1 with the knowledge and consent of the other.

                                             2          8.     All of the acts and conduct herein and below described of each and every corporate

                                             3 Defendant was duly authorized, ordered by management-level employees of said corporate

                                             4 employers. In addition, thereto, said corporate employers participated in the aforementioned acts

                                             5 and conduct of their said employees, agents, and representatives, and each of them; and upon

                                             6 completion of the aforesaid acts and conducts of said corporate employees, agents and

                                             7 representatives, the Defendant corporations, respectively and collectively, ratified, accepted the

                                             8 benefits of, condoned, lauded, acquiesced, authorized and otherwise approved of each and all of the

                                             9 said acts and conduct of the aforementioned corporate employees, agents and representatives.

                                            10                    EXHAUSTION OF ADMINISTRATIVE PROCEEDINGS
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11          9.     PLAINTIFF exhausted her administrative remedies by timely filing a complaint for
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 the issues required to be raised herein against WGU with the California Department of Fair

                                            13 Employment & Housing (“DFEH”) and thereafter received a “Right to Sue” letter from the DFEH
            VALIANT LAW




                                            14 attached hereto as Exhibit “A.”

                                            15                                    FACTUAL ALLEGATIONS

                                            16          10.    WGU is a private online university which offers web-based learning to students

                                            17 throughout the United States and, specially, California. PLAINTIFF began her employment with

                                            18 WGU in or around November 2017 as an evaluator.

                                            19          11.    Throughout her entire employment with WGU, PLAINTIFF’s employment position

                                            20 was fully remote with PLAINTIFF performing all employment tasks from California. As such,

                                            21 PLAINTIFF was, at all times, eligible to receive reimbursement for necessary expenses including,

                                            22 but not limited to, internet access and phone bills pursuant to the Labor Code.

                                            23          12.    In or around August 2021, PLAINTIFF began advising WGU’s Human Resources

                                            24 department that WGU failed to properly compensate PLAINTIFF for such expenses. Unfortunately,

                                            25 PLAINTIFF’s complaints continually fell on deaf ears. It wasn’t until approximately one year later

                                            26 – in or around August 2022, while PLAINTIFF was out on maternity leave, that WGU finally
                                            27 investigated PLAINTIFF’s complaints and requests for reimbursement of her expenses.

                                            28 Unfortunately, and in conscious disregard for her rights, WGO has failed to fully reimburse

                                                                                                -3-
                                                                                           COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.21 Page 4 of 22




                                             1 PLAINTIFF for all necessary expenses she has incurred to date.

                                             2          13.    Throughout her history of employment with WGU, PLAINTIFF was also the victim

                                             3 of a hostile and harassing work environment in which she was improperly singled out for

                                             4 disciplinary action without any basis whatsoever in a concerted effort by WGU to terminate anyone

                                             5 it considered to be problematic. These unfounded efforts to discipline PLAINTIFF were simply

                                             6 acts of retaliation carried out with the intent to constructively terminate PLAINTIFF.

                                             7          14.    Further, PLAINTIFF experienced discrimination and retaliation as a direct result of

                                             8 her notice of pregnancy and subsequent maternity leave. Notably, in or around March 2022,

                                             9 approximately one month prior to PLAINTIFF’s scheduled maternity leave in April 2022, WGU

                                            10 announced that they would be restructuring and creating new management positions. PLAINTIFF,
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 meeting all the posted position requirements and seeking to continue her career growth with WGU,
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 submitted her application for one of the new management positions. Unfortunately, Kirk Welter

                                            13 (hereinafter, “WELTER”), the Vice President over WGU’s restructuring and the hiring manager,
            VALIANT LAW




                                            14 was informed of PLAINTIFF’s pregnancy status and maternity leave during the application process.

                                            15 As a direct result, PLAINTIFF was discriminated against by being overlooked for the position.

                                            16 Worse still, PLAINTIFF later discovered that the position was presented to an applicant who was

                                            17 much less qualified than her and who failed to meet the posted position requirements –

                                            18 demonstrating WGU’s animus against PLAINTIFF based upon her pending pregnancy and

                                            19 maternity leave and continued retaliation.

                                            20          15.    Adding insult to injury, while out on maternity leave, PLAINTIFF was once again

                                            21 overlooked for promotional opportunities due to her pregnancy and maternity leave status. In or

                                            22 around April 2022, another position became available, this position was for Senior Evaluator.

                                            23 Notably, this position is given based on tenure. PLAINTIFF, having worked for WGU for

                                            24 approximately five years, met the tenure requirement and would have been a top candidate for this

                                            25 position. Unfortunately, WGU once again displayed their discriminatory animus by failing to

                                            26 include PLAINTIFF’s information in the application process. When she confronted WGU about
                                            27 this, she was informed that her name was not included on account of her pregnancy and related

                                            28 leave.

                                                                                                -4-
                                                                                            COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.22 Page 5 of 22




                                             1          16.      Thereafter, on or about September 22, 2022, PLAINTIFF returned from maternity

                                             2 leave. Shelly Sinclair (hereinafter “SINCLAIR”), PLAINTIFF’s new supervisor, directed her to

                                             3 access the WGU internet site, SharePoint, which houses documents such as recordings of team

                                             4 meetings, training documents, and team resources in order to familiarize herself after coming back

                                             5 from leave. To PLAINTIFF’s utter shock and surprise, she observed that personal and private

                                             6 information related to herself and her colleagues was available for anyone to access on the

                                             7 SharePoint site. Specifically, pay rates of new hires, addresses and phone numbers of all team

                                             8 members, performance data, individualized performance plans and corrective action documents.

                                             9          17.      PLAINTIFF recognized this open access and improper availability of private

                                            10 information as a violation of privacy and immediately advised WGU’s legal team of the situation as
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 she did not trust her supervisor to handle this issue properly. During this process, PLAINTIFF
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 stressed that WGU employees conduct an annual Family Educational Rights and Privacy Act

                                            13 (“FERPA”) training in order to prevent breaches such as the one PLAINTIFF discovered through
            VALIANT LAW




                                            14 the SharePoint site. PLAINTIFF further requested that WGU immediately inform all members of

                                            15 this site that their personal information was being shared without their knowledge or consent.

                                            16          18.      Shockingly, four days later, on or about September 26, 2022, PLAINTIFF received

                                            17 an email from WGU’s Human Resources advising her that “effective tomorrow you will no longer

                                            18 be employed at the university.” PLAINTIFF reached out and requested a reason for her termination,

                                            19 however she never received a response. Moreover, PLAINTIFF is informed and believes WGU

                                            20 wrongfully terminated her employment in retaliation for her discovery and complaints related to

                                            21 WGU’s breach of her and her colleagues’ privacy rights.

                                            22          19.      PLAINTIFF now commences this suit against DEFENDANTS, and each of them,

                                            23 and alleges the following:

                                            24                                    FIRST CAUSE OF ACTION

                                            25                Sex Discrimination in Violation of California Government Code § 12940

                                            26                                      (As to All DEFENDANTS)
                                            27          20.      PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            28 preceding and subsequent paragraph as though fully set forth herein.

                                                                                                -5-
                                                                                           COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.23 Page 6 of 22




                                             1          21.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                             2 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                             3          22.    At all times herein mentioned, Government Code §§ 12940 et seq., was in full force

                                             4 and effect and was binding on WGU. This statute requires WGU to refrain from discrimination

                                             5 against any employee based on their sex. Further, WGU may not refuse to hire, select for a training

                                             6 program or promotion, and may not discharge, discriminate, or retaliate against PLAINTIFF

                                             7 because of her sex or for opposing any unlawful employment practice, filing a complaint, testifying

                                             8 or assisting in any proceeding under the FEHA (Gov. Code § 12940 et seq.)

                                             9          23.    California Government code section 12926(r)(1) defines “sex” to include “pregnancy

                                            10 or medical conditions related to pregnancy” (Cal. Gov’t Code § 12926(r)(1)(A).) California
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 Government code section 12926(r)(1) defines “sex” to further include “childbirth or medical
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 conditions related to childbirth.” (Cal. Gov’t Code § 12926(r)(1)(B).) Furthermore, California

                                            13 Government code sections 12926 and 12940 requires an employer to allow an employee disabled
            VALIANT LAW




                                            14 by pregnancy, childbirth or related medical conditions to take a leave of absence and to maintain

                                            15 her health insurance during the leave. Additionally, FEHA protects a women’s right to hold

                                            16 employment and receive paid maternal leave for pregnancy. Therefore, it is illegal for an employer

                                            17 to terminate an employee for their pregnancy status.

                                            18          24.    WGU knew, or reasonably should have known, that PLAINTIFF’s pregnancy would

                                            19 limit her major life activities, or that PLAINTIFF might require certain reasonable accommodations

                                            20 related to her pregnancy, specifically maternity leave.

                                            21          25.    WGU, however, engaged in a pattern and practice of sex discrimination beginning

                                            22 in or around March 2022 through PLAINTIFF’s termination. WGU’s managers and supervisors,

                                            23 trusted to employ fair and legal practices, denied PLAINTIFF her legal rights, and treated her

                                            24 differently because of her sex – specifically her pregnancy.

                                            25          26.    PLAINTIFF was treated differently, discriminated, and retaliated against because of

                                            26 her sex – specifically her pregnancy. PLAINTIFF was subject to disparate treatment and
                                            27 discrimination by being denied and overlooked for two separate promotional opportunities on

                                            28 account of her pregnancy and subsequent maternity leave.

                                                                                                -6-
                                                                                           COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.24 Page 7 of 22




                                             1          27.    WGU’s discrimination and retaliation include (without limitation) PLAINTIFF

                                             2 being denied two separate promotional opportunities and ultimately terminated.

                                             3          28.    By engaging in the above referenced acts and omission, WGU discriminated against

                                             4 PLAINTIFF because of her sex in violation of Government Code §§ 12940, et seq. and PLAINTIFF

                                             5 was significantly harmed. WGU’s conduct was a substantial factor in causing PLAINTIFF’s harm.

                                             6          29.    As such, and as a result of WGU’s unlawful conduct, PLAINTIFF suffered and

                                             7 continues to suffer economic loss or disadvantage both as earnings and benefits, and emotional

                                             8 distress, including (without limitation), depression, decline in health, anxiety, embarrassment,

                                             9 humiliation, loss of self-esteem, and mental anguish.

                                            10          30.    PLAINTIFF will seek economic damages, non-economic damages, punitive
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 damages, recovery of her reasonable attorney’s fees and costs as the prevailing party and in amounts
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 to be proven at trial in addition to interest thereon and any and all other remedies and damages

                                            13 available under the applicable laws.
            VALIANT LAW




                                            14                                   SECOND CAUSE OF ACTION

                                            15                  Retaliation in Violation of California Government Code § 12940

                                            16                                      (As to All DEFENDANTS)

                                            17          31.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            18 preceding and subsequent paragraph as though fully set forth herein.

                                            19          32.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                            20 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                            21          33.    California Government Code § 12940(h), et seq. makes it an unlawful employment

                                            22 practice for an employer to retaliate against an employee who participated in a protected activity.

                                            23          34.    PLAINTIFF engaged in a protected activity when she requested reasonable

                                            24 accommodations for her pregnancy, specifically maternity leave.

                                            25          35.    In response thereto, WGU retaliated against PLAINTIFF by overlooking her

                                            26 application for a management position in addition to failing to consider her for promotional
                                            27 opportunities simply because she was out on maternity leave.

                                            28          36.    By engaging in the above-referenced acts and omissions, WGU, and each of them,

                                                                                                -7-
                                                                                            COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.25 Page 8 of 22




                                             1 retaliated against PLAINTIFF because she participated in protected activities in violation of

                                             2 Government Code § 12940 et seq.

                                             3          37.    WGU’s retaliatory conduct was a substantial factor in causing PLAINTIFF’s harm.

                                             4          38.    As a result of WGU’s unlawful conduct, PLAINTIFF suffered and continues to

                                             5 suffer economic loss or disadvantage both as earnings and benefits, and distress, including but not

                                             6 limited to, depression, decline in health, anxiety, embarrassment, humiliation, loss of self-esteem,

                                             7 and mental anguish. PLAINTIFF is entitled to and will seek exemplary, general, and compensatory

                                             8 damages and attorney’s fees and costs in amounts to be proven at trial in addition to interest thereon

                                             9 and any and all other remedies and damages available under the applicable laws.

                                            10                                    THIRD CAUSE OF ACTION
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11                  Whistleblower Retaliation in Violation of Labor Code § 1102.5
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12                                      (As to All DEFENDANTS)

                                            13          39.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every
            VALIANT LAW




                                            14 preceding and subsequent paragraph as though fully set forth herein .

                                            15          40.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                            16 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                            17          41.    At all times herein mentioned, Labor Code § 1102 was in full force and effect to

                                            18 promote a “broad public policy interest in encouraging workplace whistleblowers to report unlawful

                                            19 acts without fearing retaliation.” (See Green v. Ralee Engineering Co. (1998) 19 Cal.4th 66, 77.)

                                            20          42.    In or around August 2021, PLAINTIFF complained to WGU regarding their failures

                                            21 to properly compensate her for all business expenses related to her remote position – specifically

                                            22 with regards to internet access and phone bills. Additionally, PLAINTIFF also complained on or

                                            23 about September 22, 2022 regarding WGU’s clear FERPA violation regarding her own and several

                                            24 employee’s personal information being shared on the public SharePoint website.

                                            25          43.    PLAINTIFF had reasonable cause to believe that the information she disclosed was

                                            26 evidence of a violation of law by WGU.
                                            27          44.    PLAINTIFF alleges that WGU retaliated against her and ultimately terminated her

                                            28 employment on September 26, 2022, due to PLAINTIFF’s disclosure of WGU’s breaches of

                                                                                                 -8-
                                                                                            COMPLAINT
                                     Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.26 Page 9 of 22




                                             1 confidentiality and their failures to timely and properly compensate her for all business expenses.

                                             2          45.    Because of her complaints, PLAINTIFF, an employee of WGU and a whistleblower,

                                             3 it was unlawful for DEFENDANT to retaliate against her.

                                             4          46.    PLAINTIFF is informed and believes, and on that basis alleges that PLAINTIFF’s

                                             5 making the complaints and reports to WGU regarding their failures to compensate her for all

                                             6 business expenses pursuant to the Labor Code and for their clear breach of employee confidentiality

                                             7 by disclosing personal and private information on the public SharePoint website were contributing

                                             8 factors in WGU’s decision to retaliate against PLAINTIFF by terminating her employment.

                                             9          47.    The above adverse action resulting from WGU’s conduct, alleged above, was a

                                            10 substantial factor in causing PLAINTIFF harm.
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11          48.    As a direct result of the unlawful acts of WGU, as alleged above, including
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 PLAINTIFF’s wrongful termination, PLAINTIFF has suffered lost wages, lost benefits, and

                                            13 emotional distress in an amount to be proven at trial.
            VALIANT LAW




                                            14          49.    WGU’s conduct, as alleged above, constitutes oppression, fraud, and malice within

                                            15 the meaning of Civil Code §3294 in that conduct was intended by WGU to cause PLAINTIFF injury

                                            16 and was committed by WGU with a willful and conscious disregard of PLAINTIFF’s rights,

                                            17 entitling PLAINTIFF to an award of exemplary or punitive damages.

                                            18          50.    PLAINTIFF is entitled to and seeks any and all available remedies including but not

                                            19 limited to civil penalties under Labor Code §1102.5m economic damages (including back pay and

                                            20 front pay and all benefits), general damages (including pain and suffering), punitive damages, and

                                            21 pursuant to California Code of Civil Procedure §1021.5, Business and Professions Code §17200 et.

                                            22 set., the substantial benefit doctrine, and the common found doctrine.

                                            23                                  FOURTH CAUSE OF ACTION

                                            24      Failure to Prevent Discrimination, Harassment, and Retaliation in Violation of FEHA

                                            25                                        (As to All Defendants)

                                            26          51.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every
                                            27 allegation contained above as though fully set forth herein.

                                            28          52.    PLAINTIFF was an employee of WGU at all times relevant herein, PLAINTIFF was

                                                                                                -9-
                                                                                            COMPLAINT
                                  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.27 Page 10 of 22




                                             1 subjected to unlawful conduct, harassment, discrimination and retaliation as alleged in this

                                             2 Complaint. WGU failed to take reasonable steps to prevent the harassment, discrimination, and

                                             3 retaliation.

                                             4          53.    WGU’s failure to take all reasonable steps to prevent the harassment, discrimination

                                             5 and retaliation was a substantial factor in causing PLAINTIFF’s harm.

                                             6          54.    As a result of DEFENDANTS’ unlawful conduct, PLAINTIFF suffered and

                                             7 continues to suffer economic loss or disadvantage both as earnings and benefits, and emotional

                                             8 distress, including depression, decline in health, anxiety, embarrassment, humiliation, loss of self-

                                             9 esteem, and mental anguish. PLAINTIFF is entitled to and will seek exemplary, general, and

                                            10 compensatory damages and attorney’s fees and costs as to WGU in amounts to be proven at trial in
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 addition to interest thereon and any and all other remedies and damages available under the
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 applicable laws.

                                            13                                    FIFTH CAUSE OF ACTION
            VALIANT LAW




                                            14                        Wrongful Termination in Violation of Public Policy

                                            15                                        (As to All Defendants)

                                            16          55.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            17 preceding and subsequent paragraph as though fully set forth herein .

                                            18          56.    PLAINTIFF was an employee of WGU at all relevant times mentioned herein.

                                            19          57.    WGU wrongfully terminated PLAINTIFF on or about September 26, 2022.

                                            20          58.    PLAINTIFF’s complaints regarding WGU’s failures to compensate her for her

                                            21 business expenses pursuant to California Labor Codes in addition to their FERPA violation by

                                            22 breaching employee confidentiality by releasing personal and private information through their

                                            23 public SharePoint website were motivating reasons for PLAINTIFF’s discharge.

                                            24          59.    PLAINTIFF was harmed as a result of WGU’s unlawful conduct and wrongful

                                            25 discharge.

                                            26          60.    Jurisdiction is invoked in this court pursuant to the public policy and common law
                                            27 of the State of California, pursuant to the case of Tameny v. Atalantic Richfield Company (1980) 27

                                            28 Cal.3d 167 and Gould v. Maryland Sound Industries, Inc. (1995) 31 Cal. App. 4th 1337.

                                                                                                -10-
                                                                                            COMPLAINT
                                  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.28 Page 11 of 22




                                             1 Fundamental California public policy requires that employees be paid in accordance with the

                                             2 California Labor Code. Prompt payment of wages due an employee as required by Labor Code 201,

                                             3 202, and 216(a), is a fundamental public policy of this state, serving the interest of the public at

                                             4 large, not merely the interest of the employee to whom the wages are due.         Further, “there is a

                                             5 ‘fundamental public interest in a workplace free from illegal practices … .’ ‘[T]he public interest is

                                             6 in a lawful, not criminal, business operation. Attainment of this objective requires that an employee

                                             7 be free to call his or her employer’s attention to illegal practices, so that the employer may prevent

                                             8 crimes from being committed by misuse of its products by its employees.’” Yau v. Allen (2014) 229

                                             9 Cal.App.4th 144, 157.

                                            10          61.     Additionally, under California law, there is a fundamental and well-established
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 public policy against retaliating for protesting and attempting to remedy and prevent illegal actions
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12 and Labor Code violations. Said public policy is embodied in the Constitution of the State of

                                            13 California, Statutory law of the State of California, as well as case law. These statutes are intended
            VALIANT LAW




                                            14 to protect persons like PLAINTIFF. It is further the public policy of the State of California that

                                            15 employers shall not discharge any person because the person has opposed any of the employer’s

                                            16 practices in violation of the Labor Code. This public policy is fundamental, substantial, and well-

                                            17 grounded in the Constitution of California and California statute and regulations.

                                            18          62.     Accordingly, PLAINTIFF’s actions of complaining regarding WGU’s failures to

                                            19 compensate her for her business expenses pursuant to California Labor Codes in addition to their

                                            20 FERPA violation by breaching employee confidentiality by releasing personal and private

                                            21 information through their public SharePoint website were motivating reasons for PLAINTIFF’s

                                            22 discharge. Such activities were in violation of the public policy of the State of California and has

                                            23 resulted in damages and injury to PLAINTIFF as alleged herein.

                                            24          63.     In doing so, said managing agents and/or officers of WGU, acted with oppression,

                                            25 fraud, and malice as those terms are used in California Civil Code 3294. As such, PLAINTIFF is

                                            26 entitled to an award of punitive damages.
                                            27          64.     As a result of the aforesaid acts, PLAINTIFF has lost, and will continue to lose,

                                            28 substantial earnings, promotional opportunities, and fringe benefits. Furthermore, PLAINTIFF has

                                                                                                -11-
                                                                                            COMPLAINT
                                  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.29 Page 12 of 22




                                             1 suffered and will continue to suffer other actual, consequential and incidental financial losses, in an

                                             2 amount to be proven at trial in excess of the jurisdictional minimum of this court.

                                             3          65.    As a result of the foregoing, PLAINTIFF has become mentally upset, distressed,

                                             4 embarrassed, humiliated, and aggravated in a sum in excess of the jurisdictional minimum of this

                                             5 Court. PLAINTIFF has incurred and continues to incur legal expenses and attorney’s fees.

                                             6 PLAINTIFF will seek the recovery of her attorney’s fees and costs at the conclusion of this lawsuit.

                                             7 PLAINTIFF is accordingly entitled to exemplary, general, and compensatory damages and

                                             8 attorney’s fees in amounts to be proven at trial, in addition to interest thereon and any and all other

                                             9 remedies and damages available under applicable laws.

                                            10          66.    Furthermore, WGU’s decision to wrongfully terminate PLAINTIIFF was a
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 substantial motivating factor in causing PLAINTIFF’s harm.
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12                                     SIXTH CAUSE OF ACTION

                                            13         Failure to Indemnify Necessary Expenditures in Violation of Labor Code § 2802
            VALIANT LAW




                                            14                                         (As to All Defendants)

                                            15          67.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            16 preceding and subsequent paragraph as though fully set forth herein .

                                            17          68.    California Labor Code § 2808 provides that, “[a]n employer shall indemnify his or

                                            18 her employee for all necessary expenditures or losses incurred by the employee in direct

                                            19 consequence of the discharge of his or her duties, or of his obedience to the directions of the

                                            20 employer.”

                                            21          69.    As a fully remote worker for WGU, PLAINTIFF was forced to use her personal cell

                                            22 phone and internet services throughout her employment. Notably, pursuant to the Labor Code, WGU

                                            23 is obligated to reimburse PLAINTIFF for all necessary expenditures PLAINTIFF has accrued.

                                            24          70.    During PLAINTIFF’s employment with WGU, WGU failed to reimburse

                                            25 PLAINTIFF for her internet access and phone bills used to perform work for WGU.

                                            26          71.    Despite PLAINTIFF’s request to be paid the wages she was rightfully entitled to,
                                            27 WGU continue to ignore and neglect paying said expenses.

                                            28          72.    As a direct result of their actions, PLAINTIFF has suffered and continues to suffer

                                                                                                 -12-
                                                                                             COMPLAINT
                                  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.30 Page 13 of 22




                                             1 monetary damage, emotional distress and increasing attorney’s fees.

                                             2          73.    Consequently, PLAINTIFF seeks to recover the full amount of the expenses incurred

                                             3 in the performance of her job duties, interests, reasonable attorneys’ fees and costs, and penalties as

                                             4 permitted under the law.

                                             5                                      SEVENTH CAUSE OF ACTION

                                             6                      Waiting Time Penalties in Violation of Labor Code §§ 201 and 203

                                             7                                             (As to All Defendants)

                                             8          74.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                             9 preceding and subsequent paragraph as though fully set forth herein .

                                            10          75.    Labor Code § 201 requires employers to immediately pay all earned and unpaid
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 wages to discharged employees at the time of discharge.
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12          76.    PLAINTIFF is no longer employed with WGU as she was wrongfully terminated.

                                            13 WGU failed to pay PLAINTIFF all of her earned wages immediately at the time they discharged
            VALIANT LAW




                                            14 her from employment including PLAINTIFF’s rightfully owed reimbursement.

                                            15          77.    WGU’s failure to pay wages, as alleged above, was willful in that WGU knew wages

                                            16 were due but failed to pay them, thus entitling PLAINTIFF to penalties under Labor Code § 230,

                                            17 which provides that an employee’s wages shall continue as a penalty until paid for a period of up to

                                            18 thirty (30) days from the time they were due.

                                            19          78.    WGU has failed to pay PLAINTIFF a sum certain at the time of termination and has

                                            20 failed to pay those sums and benefits. Pursuant to Labor Code § 230. PLAINTIFF is entitled to

                                            21 penalties in the amount of her daily wages multiplied by, up to thirty (30) days.

                                            22                                       PRAYER FOR RELIEF

                                            23          WHEREFORE, PLAINTIFF prays for judgment against DEFENDANT, and each of them,

                                            24 as follows:

                                            25      1. For economic damages in excess of $5,000,000 according to proof;

                                            26      2. For compensatory damages and non-economic damages in excess of $10,000,000 according
                                            27          to proof;

                                            28      3. For liquidated damages allowed as a matter of law;

                                                                                                 -13-
                                                                                             COMPLAINT
                                  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.31 Page 14 of 22




                                             1    4. For civil penalties allowed as a matter of law;

                                             2    5. For special damages according to proof;

                                             3    6. For punitive damages where allowed by law;

                                             4    7. For pre-judgment and post-judgment interest pursuant to California Civil Code § 3287

                                             5       and/or California Civil Code § 3288 and/or any other provision of law providing for

                                             6       prejudgment and post-judgment interest;

                                             7    8. For attorneys’ fees where allowed by law;

                                             8    9. For costs of suit incurred herein; and

                                             9    10. For such other and further relief as this Court deems just and proper.

                                            10
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11 DATED: August 31, 2023                            VALIANT LAW
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12

                                            13
            VALIANT LAW




                                                                                         By:
                                            14                                                         KAMRAN SHAHABI
                                                                                                       PAUL NOLAN
                                            15                                                         Attorneys for PLAINTIFF LINDSEY
                                                                                                       MACK
                                            16

                                            17

                                            18

                                            19

                                            20

                                            21

                                            22

                                            23

                                            24

                                            25

                                            26
                                            27

                                            28

                                                                                               -14-
                                                                                          COMPLAINT
Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.32 Page 15 of 22




        EXHIBIT A
Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.33 Page 16 of 22

              S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                     KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023


 Raymond Babaian
 800 Ferrari Ln., Suite 100
 Ontario, CA 91764

 RE:    Notice to Complainant’s Attorney
        CRD Matter Number: 202308-21809530
        Right to Sue: Mack / Western Governors' University

 Dear Raymond Babaian:

 Attached is a copy of your complaint of discrimination filed with the Civil Rights
 Department (CRD) pursuant to the California Fair Employment and Housing Act,
 Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
 Closure and Right to Sue.

 Pursuant to Government Code section 12962, CRD will not serve these
 documents on the employer. You must serve the complaint separately, to all named
 respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
 information regarding filing a private lawsuit in the State of California. A courtesy "Notice
 of Filing of Discrimination Complaint" is attached for your convenience.

 Be advised that the CRD does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements.

 Sincerely,

 Civil Rights Department




                                                                                                CRD - ENF 80 RS (Revised 02/23)
Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.34 Page 17 of 22

              S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                     KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023

 RE:    Notice of Filing of Discrimination Complaint
        CRD Matter Number: 202308-21809530
        Right to Sue: Mack / Western Governors' University

 To All Respondent(s):

 Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
 Rights Department (CRD) in accordance with Government Code section 12960. This
 constitutes service of the complaint pursuant to Government Code section 12962. The
 complainant has requested an authorization to file a lawsuit. A copy of the Notice of
 Case Closure and Right to Sue is enclosed for your records.

 Please refer to the attached complaint for a list of all respondent(s) and their
 contact information.

 No response to CRD is requested or required.

 Sincerely,

 Civil Rights Department




                                                                                                CRD - ENF 80 RS (Revised 02/23)
Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.35 Page 18 of 22

              S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                     KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023

  Lindsey Mack
  ,

 RE:   Notice of Case Closure and Right to Sue
       CRD Matter Number: 202308-21809530
       Right to Sue: Mack / Western Governors' University

 Dear Lindsey Mack:

 This letter informs you that the above-referenced complaint filed with the Civil Rights
 Department (CRD) has been closed effective August 30, 2023 because an immediate
 Right to Sue notice was requested.

 This letter is also your Right to Sue notice. According to Government Code section
 12965, subdivision (b), a civil action may be brought under the provisions of the Fair
 Employment and Housing Act against the person, employer, labor organization or
 employment agency named in the above-referenced complaint. The civil action must be
 filed within one year from the date of this letter.

 To obtain a federal Right to Sue notice, you must contact the U.S. Equal
 Employment Opportunity Commission (EEOC) to file a complaint within 30 days
 of receipt of this CRD Notice of Case Closure or within 300 days of the alleged
 discriminatory act, whichever is earlier.

 Sincerely,


 Civil Rights Department




                                                                                                CRD - ENF 80 RS (Revised 02/23)
  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.36 Page 19 of 22




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                       Civil Rights Department
                     Under the California Fair Employment and Housing Act
 3
                                  (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Lindsey Mack                                                      CRD No. 202308-21809530

 6                                  Complainant,
     vs.
 7
      Western Governors' University
 8
      4001 South 700 East Suite 700
 9    Salt Lake City, UT 84107

10                                   Respondents

11
12
     1. Respondent Western Governors' University is an employer subject to suit under the
13   California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

14
15   2. Complainant Lindsey Mack, resides in the City of , State of .

16
   3. Complainant alleges that on or about September 26, 2022, respondent took the
17 following adverse actions:
18 Complainant was discriminated against because of complainant's sex/gender,
     pregnancy, childbirth, breast feeding, and/or related medical conditions, pregnancy disability
19 leave (pdl) and as a result of the discrimination was terminated, denied hire or promotion,
     denied any employment benefit or privilege, denied work opportunities or assignments.
20
21 Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment, requested or used a pregnancy-disability-related
22   accommodation and as a result was terminated, denied hire or promotion, denied any
     employment benefit or privilege, denied work opportunities or assignments.
23
24 Additional Complaint Details: WGU is a private online university which offers web-based
     learning to students throughout the United States and, specially, California. COMPLAINANT
25 began her employment with WGU in or around November 2017 as an evaluator.
26                                                 -1-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
                                                                              CRD-ENF 80 RS (Revised 12/22)
  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.37 Page 20 of 22




 1 Throughout her entire employment with WGU, COMPLAINANT’s employment position was
     fully remote with COMPLAINANT performing all employment tasks from California. As such,
 2 COMPLAINANT was, at all times, eligible to receive reimbursement for necessary expenses
     including, but not limited to, internet access and phone bills pursuant to the Labor Code.
 3 In or around August 2021, COMPLAINANT began advising WGU’s Human Resources
     department that WGU failed to properly compensate COMPLAINANT for such expenses.
 4 Unfortunately, COMPLAINANT’s complaints continually fell on deaf ears. It wasn’t until
     approximately one year later – in or around August 2022, while COMPLAINANT was out on
 5 maternity leave, that WGU finally investigated COMPLAINANT’s complaints and requests
     for reimbursement of her expenses. Unfortunately, and in conscious disregard for her rights,
 6
     WGO has failed to fully reimburse COMPLAINANT for all necessary expenses she has
 7   incurred to date.
     Throughout her history of employment with WGU, COMPLAINANT was also the victim of a
 8   hostile and harassing work environment in which she was improperly singled out for
     disciplinary action without any basis whatsoever in a concerted effort by WGU to terminate
 9   anyone it considered to be problematic. These unfounded efforts to discipline
     COMPLAINANT were simply acts of retaliation carried out with the intent to constructively
10   terminate COMPLAINANT.
     Further, COMPLAINANT experienced discrimination and retaliation as a direct result of her
11   notice of pregnancy and subsequent maternity leave. Notably, in or around March 2022,
     approximately one month prior to COMPLAINANT’s scheduled maternity leave in April 2022,
12   WGU announced that they would be restructuring and creating new management positions.
     COMPLAINANT, meeting all the posted position requirements and seeking to continue her
13   career growth with WGU, submitted her application for one of the new management
     positions. Unfortunately, Kirk Welter (hereinafter, “WELTER”), the Vice President over
14   WGU’s restructuring and the hiring manager, was informed of COMPLAINANT’s pregnancy
     status and maternity leave during the application process. As a direct result,
15
     COMPLAINANT was discriminated against by being overlooked for the position. Worse still,
16   COMPLAINANT later discovered that the position was presented to an applicant who was
     much less qualified than her and who failed to meet the posted position requirements –
17   demonstrating WGU’s animus against COMPLAINANT based upon her pending pregnancy
     and maternity leave and continued retaliation.
18   Adding insult to injury, while out on maternity leave, COMPLAINANT was once again
     overlooked for promotional opportunities due to her pregnancy and maternity leave status.
19   In or around April 2022, another position became available, this position was for Senior
     Evaluator. Notably, this position is given based on tenure. COMPLAINANT, having worked
20   for WGU for approximately five years, met the tenure requirement and would have been a
     top candidate for this position. Unfortunately, WGU once again displayed their discriminatory
21   animus by failing to include COMPLAINANT’s information in the application process. When
     she confronted WGU about this, she was informed that her name was not included on
22   account of her pregnancy and related leave.
     Thereafter, on or about September 22, 2022, COMPLAINANT returned from maternity
23   leave. Shelly Sinclair (hereinafter “SINCLAIR”), COMPLAINANT’s new supervisor, directed
     her to access the WGU internet site, SharePoint, which houses documents such as
24
     recordings of team meetings, training documents, and team resources in order to familiarize
25   herself after coming back from leave. To COMPLAINANT’s utter shock and surprise, she

26                                                 -2-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
                                                                              CRD-ENF 80 RS (Revised 12/22)
  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.38 Page 21 of 22




 1 observed that personal and private information related to herself and her colleagues was
     available for anyone to access on the SharePoint site. Specifically, pay rates of new hires,
 2 addresses and phone numbers of all team members, performance data, individualized
     performance plans and corrective action documents.
 3 COMPLAINANT recognized this open access and availability of private information as a
     violation of privacy and immediately advised WGU’s legal team of the situation as she did
 4 not trust her supervisor to handle this issue properly. During this process, COMPLAINANT
     stressed that WGU employees conduct an annual Family Educational Rights and Privacy
 5 Act (“FERPA”) training in order to prevent breaches such as the one COMPLAINANT
     discovered through the SharePoint site. COMPLAINANT further requested that WGU
 6
     immediately inform all members of this site that their personal information was being shared
 7   without their knowledge or consent.
     Shockingly, four days later, on or about September 26, 2022, COMPLAINANT received an
 8   email from WGU’s Human Resources advising her that “effective tomorrow you will no
     longer be employed at the university.” COMPLAINANT reached out and requested a reason
 9   for her termination, however she never received a response. Moreover, COMPLAINANT is
     informed and believes WGU wrongfully terminated her employment in retaliation for her
10   acknowledging and complaining of WGU’s breach of her and her colleagues privacy rights.

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26                                                 -3-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
                                                                              CRD-ENF 80 RS (Revised 12/22)
  Case 3:23-cv-01842-RBM-MSB Document 1-4 Filed 10/06/23 PageID.39 Page 22 of 22




 1 VERIFICATION
 2 I, Raymond Babaian, am the Attorney in the above-entitled complaint. I have read
   the foregoing complaint and know the contents thereof. The matters alleged are
 3
   based on information and belief, which I believe to be true.
 4
   On August 30, 2023, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                               Ontario, CA
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26                                                 -4-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
                                                                         CRD-ENF 80 RS (Revised 12/22)
